Case 2:09-cv-04414-SDW-SCM Document 1014 Filed 03/01/19 Page 1 of 4 PageID: 16175



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                                 2:09-cv-04414-SDW-MCA


     IN RE: ZIMMER DUROM HIP CUP
     PRODUCTS LIABILITY LITIGATION                                       MDL-2158




                                       This Document Relates to:


                    Cynthia Francis v. Zimmer, Inc., et al; Case No. 2:16-cv-04627
                    Timothy Shank v. Zimmer, Inc., et al; Case No. 2:11-cv-00138


                 DEFENDANTS ZIMMER, INC. AND ZIMMER HOLDINGS, INC.’S
                         MOTION FOR ORDER TO SHOW CAUSE

          Defendants Zimmer, Inc., and Zimmer Holdings, Inc. (together, “Zimmer”), respectfully

   move this Court for the entry of an order directing Plaintiffs Cynthia Francis and Timothy Shank

   (together, “Plaintiffs”) to present evidence that they had a revision surgery and to show cause why

   these actions should not be dismissed without prejudice. In support of this Motion, Zimmer states

   as follows:

          1.       On June 9, 2010, the Judicial Panel on Multidistrict Litigation centralized the

   then-pending Durom Cup cases in the District of New Jersey, styled as In re: Zimmer Durom

   Hip Cup Products Liability Litigation, MDL 2158 (the “MDL”). (Transfer Order (June 9, 2010),

   attached as Exhibit 1).

          2.       According to the Transfer Order, the common issues in the MDL are “whether

   Zimmer’s Durom Acetabular Component (or Durom Cup), a device used in hip replacement
Case 2:09-cv-04414-SDW-SCM Document 1014 Filed 03/01/19 Page 2 of 4 PageID: 16176



   surgery, was defectively designed and/or manufactured, and whether Zimmer failed to provide

   adequate warnings concerning the device.” (Id. at 1-2).

          3.      On February 11, 2016, Zimmer and a subset of MDL Plaintiffs’ Liaison Counsel

   (“Claimants’ Liaison Counsel”) negotiated the “U.S. Durom Cup Settlement Program

   Agreement” (the “Settlement Agreement”). (May 13, 2016, Case Management Order Regarding

   Settlement Agreement with Settlement Agreement attached, attached as Exhibit 2).

          4.      The May 13, 2016 Case Management Order (“CMO”) stated that the purpose of

   the Settlement Agreement was to “resolve cases and claims of United States plaintiffs and

   claimants who underwent a revision of the Durom Acetabular Component.” Id. Accordingly, a

   fundamental prerequisite to participating in the U.S. Global Settlement Program (“Settlement

   Program”) is the implantation and revision of a Durom Cup.

          5.      The Settlement Agreement, attached to the CMO, defined a “Qualified Revision

   Surgery” as “the removal of his/her Durom Cup during a separate surgery less than nine years

   (108 months) after the date of implant.” (Id. at Exhibit A, p. 2.) A Plaintiff implanted with a

   Durom Cup that has not been removed is ineligible for the Settlement Program. Id.

          6.      Neither of the Plaintiffs have had a revision surgery.

          7.      On December 28, 2018, Zimmer sent letters to Plaintiffs’ counsel explaining that

   Zimmer’s records indicate that Plaintiffs’ Durom Cups have not been revised and, if they

   believed otherwise, to submit documentation to establish that a revision surgery occurred.

   Zimmer requested a response no later than January 21, 2019. Neither Plaintiff has provided

   records indicating that revision surgery occurred.

          8.      This Court has the authority to manage individual cases in the MDL like any other

   case. In re FMC Corporation Patent Litigation 422 F. Supp. 1163, 1165 (J.P.M.L. 1976)



                                                  -2-
Case 2:09-cv-04414-SDW-SCM Document 1014 Filed 03/01/19 Page 3 of 4 PageID: 16177



   (“following a transfer [under Section 1407], the transferee judge has all the jurisdiction and

   powers over pretrial proceedings in the actions transferred to him that the transferor judge would

   have had in the absence of the transfer.”).

          9.      Because Plaintiffs have not had a revision surgery, Zimmer respectfully requests

   that the Court enter an order requiring Plaintiffs to present evidence that they had a revision

   surgery and to show cause why their cases should not be dismissed without prejudice.

          WHEREFORE, Zimmer respectfully requests this Court to issue an order to show cause

   why Plaintiffs’ cases should not be dismissed without prejudice.



   Dated: March 1, 2019                  Respectfully submitted,

                                         FAEGRE BAKER DANIELS LLP


                                         /s/ J. Joseph Tanner
                                         John Joseph Tanner
                                         Andrew L. Campbell
                                         Adrienne F. Busby
                                         Stephanie N. Russo
                                         300 North Meridian Street, Suite 2700
                                         Indianapolis, IN 46204
                                         Tel. (317) 237-0300
                                         Fax (317) 237-1000
                                         Joe.Tanner@faegrebd.com
                                         Andrew.Campbell@faegrebd.com
                                         Adrienne.Busby@faegrebd.com
                                         Stephanie.Russo@faegrebd.com




                                                   -3-
Case 2:09-cv-04414-SDW-SCM Document 1014 Filed 03/01/19 Page 4 of 4 PageID: 16178



                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing document has been served upon all
   counsel of record via ECF, this 1st day of March, 2019.


                                     /s/ John Joseph Tanner




                                             -4-
   US.122112188.04
